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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

    Fred L. Nance Jr.,

                           Plaintiff,                          Case No. 1:20-cv-06316

                  v.                                           Hon. Jorge L. Alonso
                                                               Magistrate Judge Beth W. Jantz
    EMAGES, Inc., and
    Hattie Wash,

                           Defendants.

                           DEFENDANTS’ INITIAL STATUS REPORT

          Pursuant to the Court’s June 13, 2022 Order, (Dkt. 125), Defendants, EMAGES, Inc.

(“EMAGES”) and Hattie Wash (“Dr. Wash”) (collectively, Defendants), through their

undersigned counsel, submit this initial status report:1

1. Nature of the Case

      A. Basis for Federal Jurisdiction

      Based on the allegations of the First Amended Complaint (“Complaint”), subject matter
      jurisdiction is based on federal question jurisdiction under 28 U.S.C. § 1331. Plaintiff brings
      this action pursuant the anti-retaliation provisions of the National Defense Authorization Act
      (“NDAA”), 41 U.S.C. § 4712, and the False Claims Act (“FCA”), 31 U.S.C. § 3730.

      B. Nature of the Claims Asserted

      Plaintiff alleges that in May 2018, he and Dr. Wash drafted and submitted a proposal for a
      Second Chance Act Community-Based Program grant (“Grant”) to the U.S. Department of
      Justice, Bureau of Justice Assistance, Office of Justice Programs (“DOJ”). The Grant was
      awarded to EMAGES in September 2018, with Dr. Wash serving as the Grant’s fiduciary
      partner, while Plaintiff was appointed program director. After EMAGES received approval to
      draw down funds for services rendered, Plaintiff alleges that he discovered funds were drawn
      down for an employee who no longer worked for the company. Thereafter, Plaintiff claims he

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  Defendants attempted to submit a joint status report with Plaintiff. However, Plaintiff was unwilling to
engage in discussions to propose a discovery schedule, or agree to the substance of a joint submission.
Unfortunately, this required the Parties to file two separate initial status reports. (See Dkt. 130, Pl.’s Joint
Initial Status Report; see also Dkt. 103-1.)




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    submitted three “whistleblower” complaints to the DOJ based on EMAGES’s alleged
    misappropriation of funds.

    In the fall of 2020, Dr. Wash returned the Grant to DOJ based on the constraints imposed by
    the COVID-19 pandemic. However, Plaintiff alleges that the Grant was returned based on the
    filing of his three “whistleblower” complaints. Plaintiff further claims that his employment
    with EMAGES was terminated due to the Grant being returned, resulting in unlawful
    retaliation against him in violation of the NDAA and the FCA.

    Defendants deny any and all allegations of wrongdoing, and further deny that they violated the
    NDAA and the FCA.

    C. Relief Sought

    As alleged in the Complaint, Plaintiff seeks to recover: (1) compensatory and punitive damages
    in the amount of $1.25 million dollars, and attorney’s fees and costs (or in the alternative,
    petition DOJ to grant C.L.I.C.K. Services, NFP’s BJA FY 21 Second Chance Act Community-
    Based Reentry Program Solicitation proposal for a 3-year period in the amount of the SCA
    grant, which is $750,000.00); (2) notarized letters of apology addressed to all and any
    collaborations/networks involved with Grant #2018-CY-BX-0025 exonerating Plaintiff of any
    and all wrongdoing, accusations, or allegations made against Plaintiff, such as the Illinois
    Department of Corrections, Cook County Department of Corrections, IDOC parole officers,
    the Safer Foundation, Inc., including its President and CEO, Victor Dickson; (3) emotional
    distress damages; (4) special damages; and (5) other relief the Court may deem appropriate
    and necessary.

    Defendants deny that Plaintiff is entitled to the requested relief.

    D. Jury Demand

    Plaintiff has requested a jury trial.

    E. Service of Parties

    All parties have been served. DOJ and Thomas Bradley were previously dismissed from this
    lawsuit with prejudice. The remaining Defendants timely answered the Complaint on July 11,
    2022, and asserted affirmative defenses to Plaintiff’s claims.

2. Discovery and Pending Motions

    A. Pending Motions

    There are no motions currently pending before the Court.

    B. Proposed Discovery and Case Management Plan



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    1) Type of Discovery Needed: Plaintiff has indicated that he will request any and all written
       communications, documents, and/or media EMAGES exchanged with the DOJ and
       Thomas Bradley. Defendants will request any and all documents or communications
       Plaintiff sent or received from the DOJ, Congressman Davis, or any other individual with
       whom he discussed the events that are alleged in the Complaint. Defendants will also
       depose Plaintiff, and other individuals that may possess information relevant to this
       lawsuit, including but not limited to Congressman Davis.

    2) Protective Orders: Plaintiff has indicated that there is no need for a protective order at this
       time. Defendants will move for the entry of a standard confidentiality and protective order.

    3) Rule 26(a)(1) Disclosures: Plaintiff would not engage in discussions to jointly propose a
       date for initial disclosures, so Defendants propose to exchange Rule 26(a)(1) disclosures
       on or before August 9, 2022.

    4) Completion of Fact Discovery: Plaintiff would not engage in discussions to jointly propose
       a date for completing fact discovery, so Defendants propose a fact discovery deadline of
       February 28, 2023.

    5) Expert Discovery: Plaintiff has indicated he will not request expert discovery. Defendants
       may seek to retain an expert witness to opine on certain issues, including those related to
       federal grant administration.

3. Settlement and Referrals

    A. Settlement Discussions

    To date, there have not been any meaningful settlement discussions between the Parties.

    B. Settlement Conference

    At present, the Parties do not request a settlement conference before the Court or a Magistrate
    Judge. After the completion of fact discovery, Defendants would be open to participating in a
    settlement conference before the Magistrate Judge assigned to the case.

    C. Proceeding Before Magistrate Judge

    The Parties do not consent unanimously to proceed before a Magistrate Judge for all matters
    in the case, including dispositive motions and trial.




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Dated: July 12, 2022                               Respectfully submitted,

                                                   EMAGES, INC. AND DR. HATTIE WASH


                                             By:   /s/ Derrick M. Thompson Jr.
                                                   One of their Attorneys
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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on July 12, 2022, the foregoing Defendants’ Initial

Status Report was electronically filed with the Clerk of the Court using the CM/ECF system,

which will send notification of such filing to the parties listed on the electronic service list:


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                                                                          /s/ Derrick M. Thompson Jr.




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